                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 ERIC WEINER, Individually and on                  )
 Behalf of All Others Similarly Situated,          )         Case No. 3:17-cv-01469
                                                   )
        Plaintiff,                                 )         Chief Judge Waverly D. Crenshaw, Jr.
 v.                                                )         Magistrate Judge Alistair Newbern
                                                   )
 TIVITY HEALTH, INC., DONATO                       )
 TRAMUTO, GLENN HARGREAVES, and                    )
 ADAM HOLLAND                                      )
                                                   )
                                                   )
        Defendants.                                )
                                                   )
                                                   )
                                                   )
                                                   )
                                                   )

                                  STIPULATION AND ORDER

       WHEREAS, on November 20, 2017, Plaintiff filed a class action complaint asserting claims

against Defendants Tivity Health Inc. (“Tivity”), Donato Tramuto, Glenn Hargreaves, and Adam

Holland pursuant to Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the

“Exchange Act”) and Rule 10b-5 promulgated thereunder;

       WHEREAS, counsel for Defendants have agreed to accept Service of Summons for all

Defendants and the deadline to respond has not yet passed;

       WHEREAS, pursuant to Federal Rules of Civil Procedure 4 and 12, the time for

Defendants to answer, move or otherwise respond to Plaintiff’s Complaint has not yet passed;

       WHEREAS, this case is governed by the Private Securities Litigation Reform Act of

1995 (the “Reform Act”), 15 U.S.C. § 78u-4, et seq.;

       WHEREAS, pursuant to the Reform Act, 15 U.S.C. § 78u-4(a)(3)(A)(i)(II) and based on

publication notice, the deadline for any Tivity shareholder to move to be appointed Lead Plaintiff

in this action is January 19, 2018 and such Lead Plaintiff has not yet been appointed;
       Case 3:17-cv-01469 Document 12 Filed 12/19/17 Page 1 of 4 PageID #: 58
       WHEREAS, the parties anticipate that, following the Court’s appointment of Lead Plaintiff

and Lead Plaintiff’s Counsel in this action pursuant to the Reform Act, 15 U.S.C. § 78u-

4(a)(3)(B)(i), Lead Plaintiff will file an amended complaint, which will operate as the operative

complaint in this action;

       WHEREAS, the parties have agreed that Defendants shall not be obligated to answer, move

or otherwise respond to the Complaint in this action until a Lead Plaintiff is appointed and the

parties have entered into a proposed schedule regarding the filing of an amended complaint and the

response thereto;

       WHEREAS, this is the first application to extend the time for the Defendants to answer,

move or otherwise respond that has been made in this case; and

       WHEREAS, the establishment of a schedule for the filing of certain pleadings, pretrial

motions, and related matters will promote the efficient conduct of this litigation;

       IT IS HEREBY STIPULATED AND AGREED, by and between the attorneys for

Plaintiff and the attorneys for Defendants, as follows:

       1.      Because this case is governed by the Reform Act, Defendants shall not be

obligated to answer, move or otherwise respond to the Complaint [ECF No. 1].

       2.      Within five (5) business days after appointment of Lead Plaintiff in this action or in

the consolidated action, as applicable, pursuant to the Reform Act, the parties shall file a proposed

schedule regarding the filing of an amended complaint and the response thereto.

       3.      Nothing herein shall constitute a waiver or abrogation of, or in any other manner

prejudice, any defenses that might be raised by Defendants.




                                                  2
      Case 3:17-cv-01469 Document 12 Filed 12/19/17 Page 2 of 4 PageID #: 59
       Respectfully submitted this 18th day of December, 2017. The Filing User hereby

represents that all signatories hereto consent to the filing of this document.



/s/ Al Holifield
Al Holifield, Esq. (BPR #015949)                  Jessica P. Corley (Pro Hac Pending)
Holifield Janich Rachal Ferrera,                  Lisa R. Bugni (Pro Hac Pending)
PLLC                                              Alston & Bird LLP
11907 Kingston Pike, Ste. 201                     1201 West Peachtree St.
Knoxville, TN 37934                               Atlanta, GA 30309
aholifield@holifieldlaw.com                       Tel. (404) 881-7000
                                                  Jessica.corley@alston.com
Eduard Korsinsky                                  Lisa.bugni@alston.com
Levi & Korsinsky LLP
30 Broad Street, 24th Floor                       /s/Joseph B. Crace, Jr.
New York, NY 10004                                Wallace W. Dietz (BPR # 009949)
Tel. (212) 363-7500 ext. 102                      Joseph B. Crace, Jr. (BPR # 27753)
ek@zlk.com                                        Bass, Berry & Sims, PLC
                                                  150 Third Avenue, South, Suite 2800
Attorneys for Plaintiff                           Nashville, TN 37201
                                                  Tel. (615) 742-7762
                                                  wdietz@bassberry.com
                                                  jcrace@bassberry.com


                                                  Attorneys for Defendants




 SO ORDERED.


 Dated: December 19             , 2017
                                                        Alistair Newbern
                                                        United States Magistrate Judge




                                                   3
      Case 3:17-cv-01469 Document 12 Filed 12/19/17 Page 3 of 4 PageID #: 60
                               CERTIFICATE OF SERVICE

        I hereby certify that on December 18, 2017, the foregoing STIPULATION AND
 PROPOSED ORDER was filed electronically with the Clerk of the Court to be served by
 operation of the Court’s electronic filing system upon the following:

Al Holifield, Esq. (BPR #015949)
Holifield Janich Rachal Ferrera, PLLC
11907 Kingston Pike, Ste. 201
Knoxville, TN 37934
aholifield@holifieldlaw.com

Eduard Korsinsky
Levi & Korsinsky LLP
30 Broad Street, 24th Floor
New York, NY 10004
Tel. (212) 363-7500 ext. 102
ek@zlk.com

Attorneys for Plaintiff


                                                 /s/Joseph B. Crace, Jr.




      Case 3:17-cv-01469 Document 12 Filed 12/19/17 Page 4 of 4 PageID #: 61
